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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                         )    Case No. 16-39654
                                               )    (Jointly Administered)
ARGON CREDIT, LLC, et al.,                     )
                                               )    Chapter 7
         Debtors.                              )
                                               )    Hon. Deborah L. Thorne

                                             )
EUGENE CRANE, the duly appointed and         )
serving Chapter 7 Trustee for the estates of )
Argon Credit, LLC and Argon X, LLC,          )
                                             ) Case No. 18-ap-________
              Plaintiff,                     )
                                             )
v.
                                             )
RAVIV WOLFE, GARY ZUMSKI, PETER )
FERRO, JR., BERJ ARAKELIAN, ERIC             )
SCHNOSENBERG, SEAN                           )
TOMASZKIEWICZ, HARRY                         )
MADANYAN, JOSEPH CANFORA,                    )
MARK TRIFFLER, JOHN A. KUHLMAN, )
JR., BRUCE BREITWEISER, BYRON
FAEMARK, BARRY KOSTINER,                     )
BERGARVIV, LLC, BROADMARK                    )
CAPITAL, LLC, PERAZA CAPITAL AND )
INVESTMENT, LLC, and BLUE TREBLE )
SOLUTIONS, LLC

                              Defendants.
                                        COMPLAINT

         Eugene Crane, the chapter 7 trustee (the “Trustee”) for the estates of Argon Credit, LLC

(“Argon Credit”) and Argon X, LLC (“Argon X,” together with Argon Credit, the “Debtors”), by

and through his undersigned counsel, files this complaint (the “Complaint”) against Raviv

Wolfe, Gary Zumski, Peter Ferro, Jr., Berj Arakelian, Eric Schnosenberg, Sean Tomaszkiewicz,

Harry Madanyan, Joseph Canfora, Mark Triffler, John A. Kuhlman, Jr., Bruce Breitweiser,

Byron Faermark, Bergarviv, LLC, Broadmark Capital, LLC, Peraza Capital and Investment,

LLC, and Blue Treble Solutions, LLC (collectively, the “Defendants”). By this Complaint, the
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Trustee seeks entry of a judgment: (i) against the Individual Defendants (defined below) for

breach of their fiduciary duties of loyalty and care; (ii) avoiding and recovering certain transfers

made by Argon Credit to certain of the Transferee Defendants (defined below) as preferences

and/or fraudulent transfers; and (iii) disallowing any claims of the Transferee Defendants. The

Trustee states as follows as to all matters:

                                  NATURE OF THIS ACTION

       1.      During the course of the Debtors’ limited business operations spanning

approximately two years, Argon Credit’s officers and members of its board of managers

repeatedly breached their fiduciary duties of loyalty and care to the Debtors and to the Debtors’

creditors by: (i) scheming to funnel assets away from the Debtors and their creditors, (ii)

transferring assets to insiders; (iii) double-pledging assets to the Debtors’ secured lender and an

insider’s lender; (iv) knowingly submitting false or misleading financial information to the

Debtors’ secured lender, including a false accounts receivable report; (v) paying themselves

exorbitant “commissions” without disclosure to or approval of the Debtors’ board of managers,

(vi) using company funds to pay for personal expenses unrelated to the Debtors’ business

operations, and (vii) authorizing the Debtors to enter into purported loans with investors which

were really contributions of equity and authorizing equity distributions to those investors at a

time when the Debtors were insolvent.

       2.      All of these actions contributed to the Debtors’ inability to meet their financial

obligations which ultimately led to the Debtors’ secured lender declaring a default under the

applicable loan documents and caused the Debtors to file for bankruptcy. The Trustee was

appointed to liquidate the Debtors’ remaining assets and pursue claims on behalf of the Debtors




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and their creditors. The Trustee files this action to recover damages in excess of $6 million that

resulted from the bad acts described below.

                                            PARTIES

           3.   The Trustee is the duly appointed chapter 7 trustee of the Debtors’ bankruptcy

estates.

           4.   Raviv Wolfe (“Wolfe”) is an individual who, on information and belief, resides in

Valparaiso, Indiana. Wolfe was Argon Credit’s chief executive officer and a member of Argon

Credit’s board of managers at all times relevant to this Complaint.

           5.   Gary Zumski (“Zumski”) is an individual who, on information and belief, resides

in Rolling Meadows, Illinois. Zumski was Argon Credit’s chief risk officer at all times relevant

to this Complaint and was a member of Argon Credit’s board of managers between September 8,

2014 and February 12, 2016.

           6.   Peter Ferro, Jr. (“Ferro”) is an individual who, on information and belief, resides

in Minooka, Illinois. Ferro was Argon Credit’s president from June 2016 forward and, further,

was a member of Argon Credit’s board of managers between September 8, 2014 and February 3,

2015.

           7.   Berj Arakelian (“Arakelian”) is an individual who, on information and belief,

resides in San Diego, California. Arakelian was Argon Credit’s chief executive officer from

September 8, 2014 through approximately May 2015 and was a member of Argon Credit’s board

of managers between September 8, 2014 and February 12, 2016.

           8.   Eric Schnosenberg (“Schnosenberg”) is an individual who, on information and

belief, resides in Chicago, Illinois. Schnosenberg was Argon Credit’s executive vice president of

finance at all times relevant to this Complaint.



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       9.      Sean Tomaszkiewicz (“Tomaszkiewicz”) is an individual who, on information and

belief, resides in Naperville, Illinois. Tomaszkiewicz was Argon Credit’s vice president of

technology and business development at all times relevant to this Complaint.

       10.     Harry Madanyan (“Madanyan”) is an individual who, on information and belief,

resides in Palos Heights, Illinois. Madanyan was Argon Credit’s interim chief operations officer

and director of strategy at all times relevant to this Complaint.

       11.     Joseph Canfora (“Canfora”) is an individual who, on information and belief,

resides in Chicago, Illinois. Canfora was a member of Argon Credit’s board of managers at all

times relevant to this Complaint.

       12.     Mark Triffler (“Triffler”) is an individual who, on information and belief, resides

in Lemont, Illinois. Triffler was a member of Argon Credit’s board of managers at all times

relevant to this Complaint.

       13.     John A. Kuhlman, Jr. (“Kuhlman”) is an individual who, on information and

belief, resides in Burr Ridge, Illinois. Kuhlman was a member of Argon Credit’s board of

managers from February 3, 2015 forward.

       14.     Bruce Breitweiser (“Breitweiser”) is an individual who, on information and belief,

resides in Bloomington, Illinois.      Breitweiser was a member of Argon Credit’s board of

managers from February 12, 2015 forward.

       15.     Byron Faermark (“Faermark”) is an individual who, on information and belief,

resides in Elmhurst, Illinois. Faermark was a member of Argon Credit’s board of managers from

February 12, 2015 forward.

       16.     Barry Kostiner (“Kostiner”) is an individual who, on information and belief,

resides in Monsey, New York.



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        17.     Bergarviv LLC (“Bergarviv”) is an Illinois limited liability company with its

principal place of business located in Carpentersville, Illinois.

        18.     Broadmark Capital, LLC (“Broadmark”) is a Washington limited liability

company with its principal place of business in Seattle, Washington.

        19.     Peraza Capital and Investment, LLC (“Peraza”) is a Florida limited liability

company with its principal place of business in Saint Petersburg, Florida.

        20.     Blue Treble Solutions, LLC (“Blue Treble”) is a limited liability company,

organized under the laws of the state of Delaware with its principal place of business in

Naperville, Illinois.

                                  JURISDICTION AND VENUE

        21.     This Court has jurisdiction over this Complaint pursuant to 28 U.S.C. § 1334.

The statutory predicates for the relief requested herein are sections 105(a), 502(b), 502(d),

502(j), 547, 548, and 550 of the Bankruptcy Code.

        22.     This Complaint is a core proceeding under 28 U.S.C. § 157(b)(2) and the Trustee

consents to entry of a final judgment by the United States Bankruptcy Court for the Northern

District of Illinois (the “Court”).

        23.     Venue is proper in this district pursuant to 28 U.S.C. § 1409.

                                           BACKGROUND

    A. The Debtors’ Business Operations

        24.     Argon Credit was formed as a Delaware limited liability company on October 15,

2013. Argon Credit did not begin significant business operations until late 2014. Argon X was

formed as a Delaware limited liability company on April 23, 2015.

        25.     Argon Credit owns 100% of the interests in Argon X.



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       26.     The Debtors operated a state-by-state consumer loan origination business.

Certain non-debtor affiliates executed the loans and the loans were funded and serviced by

Argon Credit. Argon X purchased the consumer loans from the affiliates and Argon Credit

serviced the loans.

       27.     The Debtors offered unsecured loans up to $35,000 with interest rates between

19% and 95%+, having a twelve to sixty-month term.

   B. Princeton Credit Facility

       28.     On May 1, 2015, Argon X entered into a Loan and Security Agreement (the

“Fintech Loan Agreement”) with Fintech Financial, LLC (“Fintech”) which provided Argon X

with a revolving line of credit with a maximum loan limit of $20,000,000. In exchange, Argon

X granted Fintech a security interest in certain of its personal property.

       29.     Argon Credit and certain of its subsidiaries executed a Guaranty and Suretyship

Agreement (the “Guaranty”) in favor of Fintech which, among other things, guaranteed the full,

prompt, and unconditional payment when due of Argon X’s liabilities and obligations under the

Fintech Loan Agreement.

       30.     Pursuant to the terms of the Fintech Loan Agreement and the Guaranty, the

Debtors agreed to provide Fintech with financial statements and other information applicable to

Argon X and other financial information reasonably requested by Fintech.

       31.     On May 6, 2015, Fintech and Princeton Alternative Income Fund, LP

(“Princeton”) entered into an agreement whereby Fintech agreed to sell, assign and transfer to

Princeton all of its rights, title, and interests in certain of the Debtors’ loans as identified by

Fintech from time to time, as well as Fintech’s rights and remedies under the Loan and Security

Agreement.



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       32.     On September 30, 2015, Argon X and Fintech entered into that certain First

Amendment to Loan and Security Agreement and Modification to Other Financing Agreements

(the “First Amendment”) which, among other things, increased the maximum credit available

under the Loan and Security Agreement to $34,000,000.

       33.     On February 8, 2016, Argon X and Fintech entered into the Second Amendment

to Loan and Security Agreement and Modification to Other Financing Agreements (the “Second

Amendment,” together with the Fintech Loan Agreement and First Amendment, the “Fintech

Loan Agreements”) which, among other things, increased the maximum credit available to Argon

Credit to $37,500,000.

       34.     On December 7, 2016, Princeton assigned its rights in the Fintech Loan

Agreements to Fund Recovery Services, LLC.

   C. Spartan Allegations

       35.     Just 21 days after entering the Fintech Loan Agreements, Barry Kostiner

incorporated an entity with a name eerily similar to the Debtors’ secured lender Fintech

Financial, LLC.    The new entity was named Fintech Asset Management, LLC (“FTAM”).

FTAM’s managing member is Barry Kostiner, who also worked for Argon Credit at the time of

the transaction and used an Argon Credit e-mail address for business transactions.

       36.     The Debtors sought to sell certain consumer loans in their portfolio to FTAM,

which would then transfer the consumer loans to other entities for the purpose of re-pledging

those consumer loans to another secured lender.

       37.     The Debtors did not disclose this series of transactions to their creditors.




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          i.    Entities Involved in Spartan Transaction

       38.      In connection with the contemplated sale, the following companies were

incorporated:

                   1. FTAM was incorporated in Delaware on May 22, 2015.                 FTAM’s
                      managing member is Barry Kostiner.

                   2. Spartan Specialty Finance I, LLC (“SSF”) was incorporated as a Delaware
                      limited liability company on August 4, 2015. SSF’s sole member is
                      FTAM, which is controlled by Barry Kostiner.

                   3. SSF Holdings LLC (“SSF Holdings”) was incorporated as a Delaware
                      limited liability company on August 4, 2015. Raviv Wolfe was the
                      managing member and chief executive officer of SSF Holdings.

                   4. Spartan Specialty Finance I SPV, LLC (“SSF SPV” together with FTAM,
                      SSF, and SSF Holdings, “Spartan”) was incorporated as a Delaware
                      limited liability company on October 20, 2015. Its sole member is FTAM,
                      which is controlled by Barry Kostiner.

         ii.    Initial Assignment and Servicing Agreements

       39.      In furtherance of the contemplated transaction, the parties executed four separate

agreements on or about July 29, 2015 which set forth a framework for the parties’ relationship

and eventual sale or assignment of consumer loans.

       40.      First, Argon Credit, SSF, and FTAM executed a Servicing Agreement which

provided that, among other things:

                   1. Argon Credit would originate and transfer certain consumer loans to SSF;

                   2. Argon Credit would provide pre-servicing support and administrative
                      services in connection with the consumer loans and would also service the
                      consumer loans, including collecting monies which would be segregated
                      from Argon Credit’s other property and then deposited into SSF’s account
                      within one business day; and

                   3. Argon Credit would receive a servicing fee equal to 15% of the amount
                      invested by SSF in the consumer loans payable in equal monthly
                      installments over 6 months. However, SSF was obligated to pay the fee to
                      FTAM who was then obligated to pay it to Argon Credit. The Servicing


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                        Agreement provides that Argon Credit has no right of recourse against the
                        consumer loans for payment of the servicing fee.

          41.    Wolfe signed the Servicing Agreement on behalf of Argon Credit.

          42.    Second, Argon Credit, FTAM, and SSF executed a side agreement which

provided that Argon Credit granted FTAM a right of allocation for up to 25% of the consumer

loans originated by Argon Credit that have an annual percentage rate equal to or exceeding 40%

to be assigned to FTAM on a monthly basis. Argon Credit also granted FTAM a right of first

refusal to acquire such loans in the event Argon Credit proposed to sell it.

          43.    SSF also executed a promissory note (the “SSF Note”) in favor of SSF Holdings

LLC in the principal amount of $330,000, which provided that the proceeds would be used to

fund SSF’s lending activities of originating and servicing loans. Wolfe signed the SSF Note as

CEO of SSF Holdings LLC. The SSF Note called for quarterly payments to be made beginning

August 2015 through February 2018 totaling $580,000 as a preferred return prior to equity

payout.

          44.    SSF and SSF Holdings also executed a subscription agreement pursuant to which

SSF issued and sold the Promissory Note to SSF Holdings.

          iii.   Sale of the Consumer Loans to FTAM

          45.    On August 20, 2015, Argon Credit and FTAM executed a Master Loan Sale

Agreement pursuant to which Argon Credit agreed to sell certain qualified loans to FTAM.

          46.    Wolfe signed the Master Loan and Sale Agreement on behalf of Argon Credit.

          47.    The Master Loan and Sale Agreement provided that Argon Credit would make

entries on its books and records to clearly indicate the sale of certain consumer to FTAM.

          48.    On information and belief, Argon Credit sold or assigned consumer loans to

FTAM having a face value of at least $4,840,024.67.


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        49.    Upon information and belief, since the interest rates on those loans equaled or

exceeded 40%, the actual value was significantly higher than the attributed face value because of

the potential cash flow to be generated from interest.

        50.    However, Argon Credit’s books and records reflect that it only received a total of

$3,768,438.70 on account of the consumer loans sold to FTAM.

        51.    Argon Credit continued to service the consumer loans after they were sold to

FTAM, but neither SSF nor FTAM ever paid any fees to Argon Credit in exchange for servicing

the consumer loans.

        52.    The consumer loans sold to FTAM were Princeton’s collateral and the Debtors

did not disclose the transaction to Princeton until December 2016.

        53.    Argon Credit continued to reflect these consumer loans on its borrowing base

certificates and other financial information submitted to Princeton.     In turn, Argon Credit

continued to borrow against these phantom loans despite the fact that there was no collateral to

support it.

        54.    During the pendency of the Debtors’ chapter 11 bankruptcy cases, this Court

found that these loans were “double counted” as Princeton and SSF’s collateral.

        55.    The Debtors’ books and records do not reflect whether the Master Loan Sale

Agreement or series of transactions with Spartan were approved by Argon Credit’s board of

managers. In fact, none of the board books maintained by Argon Credit’s board of managers

includes any board meeting agendas, minutes, or resolutions between May 2015 and May 2016.

        56.    On information and belief, Wolfe, Arakelian, Schnosenberg, Madanyan, Zumski,

Canfora, Triffler, Ferro, Kuhlman, Breitweiser, Tomaszkiewicz, and Faermark (collectively, the

“Individual Defendants”) were each aware at the time or subsequently became aware of the



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transactions with Spartan and, further, knew or should have known that the transaction was not

disclosed to Princeton and was not reflected on Argon Credit’s books and records.

       57.     In fact, Schnosenberg, Wolfe, and Arakelian received daily reports regarding the

transferred loans and monitored and participated in the transactions.

        iv.    SSF and FTAM Default on Their Loan

       58.     On October 31, 2015, SSF SPV entered into a Loan and Security Agreement with

Hamilton Funding I LP (“Hamilton”), pursuant to which Hamilton agreed to loan up to

$10,000,000 to SSF SPV with a delayed draw term loan facility, secured by the assets Argon

Credit transferred to SSF SPV, with a 70% loan to collateral value borrowing base (the

“Hamilton Loan”).

       59.     FTAM, Kostiner, and Wolfe each guaranteed the Hamilton Loan.

       60.     Argon Credit, which continued to act as servicer for the transferred loans,

deposited cash proceeds of the loans on a weekly basis into a bank account owned by Spartan,

which was subject to a security interest of Hamilton via a deposit account control agreement (the

“Spartan Bank Account”). Upon information and belief, the deposits into the Spartan Bank

Account were approximately $50,000 per week.

       61.     Upon information and belief, in or around January 2016, SSF SPV fell into non-

compliance with the terms of the Hamilton Loan. On February 5, 2016, SSF SPV represented to

Hamilton that it would use Argon Credit’s assets, if necessary, to enable SSF SPV to come into

compliance.

       62.     On February 5, 2016, Kostiner sent an email on behalf of SSF SPV to Daniel

Wirzberger, a representative of Hamilton, stating “Argon is expecting to receive $5 mm from its

investors this week, which will enable it to buy all the loans we need this month, as well as



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provide the remaining 30% advance on our senior line of credit with you, if needed. I have been

working with my investors to try not to take it from Argon, but if needed, we will be able to draw

whatever equity is required from Argon to complete a $7 mm draw on the Hamilton line by the

end of February.”

       63.     On February 23, 2016, Hamilton served a Notice of Event of Default of the

Hamilton Loan for failure to replace defaulted receivables. Hamilton accelerated the balance of

the loan and sought payment of $4,437,700.17, which consisted of $3,274,629 in principal.

       64.     On March 3, 2016, Hamilton took exclusive control of the Spartan Bank Account

and began sweeping the cash which Argon Credit was depositing into the account. Upon

information and belief, Hamilton swept at least $705,000 from the Spartan Bank Account.

       65.     While SSF SPV and FTAM were engaged in discussions with Hamilton regarding

the default under their loan agreements, FTAM and SSF separately engaged in discussions with

Argon Credit to repurchase the consumer loans which were Hamilton’s collateral.

       66.     Upon information and belief, the plan to transfer the consumer loans back to

Argon Credit was to hide those assets from Hamilton and prevent any further sweeps of the

Spartan Bank Account by Hamilton.

       67.     Argon Credit and FTAM executed a repurchase agreement dated March 1, 2016

pursuant to which Argon Credit agreed to repurchase from FTAM the entire pool of consumer

loan assets with original principal notes totaling $4,843,024.67 which would be immediately

transferred to Argon Credit upon the execution of the agreement.

       68.     In consideration for the transfer of the assets, Argon Credit agreed that FTAM

would continue to receive the future revenue streams from the loans until the earlier of 18

months or September 30, 2017.



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       69.     On information and belief, the repurchase agreement was backdated by several

weeks and was actually signed on or about March 24, 2016.

       70.     Also on March 24, 2016, upon information and belief, SSF SPV sent a letter to

Hamilton, rejecting its notices of default and asserting a right to cure such defaults of the

Hamilton Loan Agreement.

       71.     Despite the purported repurchase agreement, on information and belief the

consumer loans were not transferred back to Argon Credit.

       72.     SSF SPV filed a voluntary petition for chapter 11 bankruptcy in the Southern

District of New York on June 29, 2016 and listed in its schedules of assets and liabilities a loan

portfolio having a value of $4,750,000.00.

       73.     In that bankruptcy case, Ferro submitted a proof of claim against SSF SPV on

behalf of Argon Credit alleging that Argon Credit was owed $712,500 in servicing fees on

account of the Servicing Agreement.

   D. Defendants Knowingly Submitted False or Misleading Financial Reports to
      Princeton

       74.     In addition to the foregoing, on information and belief, Argon Credit’s officers

and board of managers caused Argon Credit to knowingly submit false or misleading financial

reports to Princeton.

       75.     For example, Argon Credit submitted financial statements, including a balance

sheet and borrowing base certificate, to Princeton for the period ending December 31, 2015

which reflected $38,833,915 in accounts receivable, which did not include any allowance for

doubtful accounts. However, Argon Credit’s internal balance sheet reflected only $29,982,455

in accounts receivable, which included an allowance of negative $5,376,501 for doubtful

accounts.


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        76.     Argon Credit also submitted financial statements to Princeton dated March 20,

2016, for the period ending February 28, 2016 which reflected $38,320,266 in accounts

receivable, which did not include an allowance for doubtful accounts. However, Argon Credit’s

internal balance sheet dated just two weeks later on April 5, 2016 reflected only $29,723,922 in

accounts receivable, which included an allowance of negative $5,465,289 for doubtful accounts.

        77.     Even worse, on or about August 25, 2016, the Individual Defendants, among

others, attended a board meeting in which those present discussed the Debtors’ balance sheet and

income statement as of July 31, 2016 as well as a draft report of the Debtors’ 2015 consolidated

financial statements performed by an independent accounting firm.

        78.     The balance sheet as of July 31, 2016 circulated to those present reflected total

assets of $34,298,154.38, which included an allowance for doubtful accounts of -$6,383,492.43.

        79.     On information and belief, the draft report of the Debtors’ 2015 consolidated

financial statements reflected total assets of $32,992,577.

        80.     Nevertheless, the July 2016 balance sheet submitted to Princeton in mid-August

2016 reflected $40,419,664.38 in assets and did not include a $6 million deduction for doubtful

accounts.

        81.     The Debtors did not inform Princeton of the over-inflated financials until on or

about December 7, 2016 at which time Princeton immediately provided the Debtors with notice

of intent to call the loan.

        82.     Thus, the Individual Defendants assisted the Debtors in keeping two sets of books

and records – one set for internal purposes and one set for submission to Princeton to permit

Argon X to continue borrowing against its credit facility.




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   E. Argon Credit’s Equity Structure and Equity Contributions Disguised as Loans

       83.     Argon Credit originally had three members: Noax, LLC (“Noax”), B Money

Holdings, LLC (“B Money”), and Gary Zumski.

       84.     Noax is, on information and belief, owned and controlled by Raviv Wolfe.

       85.     B Money is, on information and belief, owned and controlled by Berj Arakelian.

       86.     Through a series of subsequent transactions, Argon Credit expanded its members

to include Margon, LLC, Little Owl Argon LLC, Mark Triffler Declaration of Trust Dated

December 5, 1991, and The Cardinal Trust (collectively, the “New Investors”).

       87.     Each of the New Investors purportedly loaned money to Argon Credit for which

they received promissory notes that required quarterly interest payments at a specified annual

percentage rate with a maturity date several years later.

       88.     The amounts purportedly loaned by the New Investors are summarized follows:

         New Investor                              Total Purported Loan
         Margon, LLC                               $1,365,000
         Little Owl Argon LLC                      $7,000,000
         Triffler Declaration of Trust dated
         December 5, 1991                          $1,000,000
         The Cardinal Trust                        $1,000,000
         Total:                                    $10,365,000


       89.     Contemporaneously with the promissory notes, Argon Credit and the New

Investors also executed subscription agreements pursuant to which the New Investors acquired

membership interests of Argon Credit commensurate with the amount of their purported loans.

       90.     Thus, Argon Credit’s officers and board of managers caused Argon Credit to

incur more than $10 million in purported debt under promissory notes payable to equity owners

who obtained their equity interests for no additional consideration.

       91.     In purpose and effect, these supposed loans were equity contributions.

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       92.     Between February 2015 and the December 16, 2016, Argon Credit made at least

$2,038,373.41 in interest payments to the New Investors, which were really equity distributions,

summarized as follows:

         New Investor                              Total Payments
         Margon, LLC                               $1,023,611.12
         Little Owl Argon LLC                      $847,595.63
         Triffler Declaration of Trust dated
         December 5, 1991                          $99,444.44
         The Cardinal Trust                        $74,722.22
         Total:                                    $2,038,373.41


   F. Commissions Paid to Broadmark and Peraza

       93.     In April 2015, Argon Credit purportedly entered into a services agreement (the

“Broadmark Agreement”) with Broadmark and Alhambra Circle Partners, LLC (“Alhambra”) to

employ Broadmark and Alhambra to assist it with certain debt and capital raise efforts.

       94.     Alhambra is owned by its principal, Bruce Goldstein.

       95.     The Broadmark Agreement is dated April 21, 2015, only nine days prior to the

date of the Fintech Loan Agreement, and was signed by Broadmark on April 30, 2015, one day

prior to the date of the Fintech Loan Agreement.

       96.     Broadmark and Alhambra purportedly assisted the Debtors in connection with

obtaining the Princeton loan, equity transactions with Little Owl, Triffler Trust, and Cardinal

Trust, and the transactions with Spartan.

       97.     At some point subsequent to entering into the Broadmark Agreement, Alhambra

disassociated from Broadmark and began working with Peraza.

       98.     No formal assignment of the Broadmark Agreement was ever made to Peraza.

       99.     The Fintech Loan Agreement’s terms regarding use of proceeds permitted

payment of transaction fees only out of the initial draw.

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       100.    The First Amendment to the Fintech Loan Agreement expressly prohibited use of

loan proceeds to pay commissions or finder’s fees.

       101.    Between May 2015 and June 2016, Argon Credit made several transfers to

Broadmark totaling $528,333.33 (the “Broadmark Transfers”) on account of purported

consulting fees owed under the Broadmark Agreement, as set forth in Exhibit 1 to this

Complaint.

       102.    At least $360,000 of the Broadmark Transfers were attributed to finder’s fees

purportedly earned for procuring the Princeton loan.

       103.    On information and belief, certain of the Broadmark Transfers are traceable to

Princeton loan proceeds subsequent to the initial draw.

       104.    These commissions were not disclosed to Fintech or Princeton.

       105.    Additionally, between November 2015 and June 2016, Argon Credit made several

transfers to Peraza totaling $248,791.67 (the “Peraza Transfers”) on account of purported

consulting fees, as set forth in Exhibit 2 to this Complaint.

       106.    At least $180,000 of the Peraza Transfers were on account of the Princeton loan.

       107.    However, no consulting fees were ever owed to Peraza because the Broadmark

Agreement was never assigned to Peraza and no other written agreement existed between Argon

Credit and Peraza with respect to alleged commissions.

       108.    Indeed, Peraza filed a proof of claim against Argon Credit admitting that “[o]n

further consideration, Peraza determined that the claim is properly and entirely owed to

Broadmark.”




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   G. Transfers to or for the Benefit of Insiders

       109.    During the two year period of Argon Credit’s operations, Wolfe, Zumski,

Arakelian, and Tomaszkiewicz caused Argon Credit to pay hundreds of thousands of dollars to

or for their own benefit, often times for little or no value to Argon Credit.

          i.   Bergarviv Transfers

       110.    For example, between May 11, 2015 and October 2, 2015, Argon Credit paid

$381,000 (the “Bergarviv Transfers”) to Bergarviv, which is owned in whole or in part by

Arakelian and Wolfe through their respective companies B Money and Noax. A summary of the

Bergarviv Transfers is attached hereto as Exhibit 3.

       111.    The Bergarviv Transfers were purportedly on account of commissions owed to

Bergarviv relating to the Princeton loan.

       112.    However, both B Money and Noax were already equity owners of Argon Credit

and Wolfe and Arakelian both received salaries from Argon Credit during that time period.

       113.    On information and belief, these commissions were not disclosed to or approved

by Argon Credit’s board of managers.

         ii.   Personal Las Vegas Trip

       114.    Additionally, in October 2015, Wolfe caused Argon Credit to pay more than

$7,000 (the “Las Vegas Trip Expenses”) in airfare, hotel, meal, and entertainment charges for

certain of the Debtors’ executives to take a weekend getaway in Las Vegas, Nevada to celebrate

an increase in the Princeton credit facility.

       115.    Argon Credit did not receive any value in exchange for the Las Vegas Trip

Expenses and these transfers were made at a time when Argon Credit was struggling financially

and was insolvent.



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        iii.    Blue Treble Payments

       116.     Wolfe and Tomaszkiewicz, both officers of Argon Credit, caused Argon Credit to

enter into an arrangement with Blue Treble, an entity owned and managed by Tomaszkiewicz,

purportedly to develop software on behalf of Argon Credit.

       117.     However, Tomaszkiewicz was already an officer of Argon Credit and obligated to

perform his duties for the benefit of Argon Credit.

       118.     Instead, Tomaszkiewicz took advantage of Argon Credit and caused Argon Credit

to make hundreds of thousands of dollars in payments to Blue Treble for his personal benefit.

       119.     Specifically, during the two year period prior to the Petition Date, Argon Credit

made transfers to Blue Treble totaling at least $214,050.28 (the “Blue Treble Two Year

Payments”), including at least $52,643.00 (the “Blue Treble One Year Payments” together with

the Blue Treble Two Year Payments, the “Blue Treble Payments”) in the year prior to the

Petition Date. A list of the Blue Treble Payments is attached hereto as Exhibit 4.

         iv.    Catalyst Lease for Personal Apartment

       120.     In May 2016, Wolfe also caused Argon Credit to enter into a six-month apartment

lease (the “Catalyst Lease”) with Gateway Catalyst THC, LLC in May 2016 for a monthly rent

of $2,680.00.

       121.     The Catalyst Lease identified Wolfe as the occupant of the apartment located at

123 North Des Plaines, Chicago, IL 60661.

       122.     The Debtors’ business operations did not require the use of a residential apartment

and, upon information and belief, Wolfe and other Argon Credit employees used the apartment

for personal, rather than business, use.




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       123.   Morever, Wolfe caused Argon Credit to pay for tens of thousands of dollars of his

personal expenses including:

                  1. Tires for his car;

                  2. Food and alcohol purchases;

                  3. iTunes purchases; and

                  4. At least $18,145.51 on Wolfe’s personal Discover card and $24,718.84 on

                      Wolfe’s personal American Express card.

       124.   Finally, after Princeton called default of the Fintech Loan Agreements in

December 2016, it proposed certain cuts to the Debtors’ operations, including a demand that

senior management not be paid with the upcoming Friday, December 16, 2016 payroll.

       125.   Instead, on the eve of the Debtors’ bankruptcy filing, Wolfe and Zumski did the

exact opposite and caused Argon Credit to add each of them to Argon Credit’s payroll processor,

The Synergy Companies, Inc., for the very first time in order to pay themselves tens of thousands

of dollars in purported vacation and “incentive” time for 2014 and 2015.

       126.   Specifically, on or about December 16, 2016, the Debtors’ Petition Date, Argon

Credit’s payroll processor caused to be paid to Wolfe $57,992.30 (the “Wolfe Incentive

Payments”) in vacation and incentive time for 2014 and 2015 on behalf of Argon Credit.

       127.   On that same date, Argon Credit’s payroll processor caused to be paid to Zumski

$31,664.80 (the “Zumski Incentive Payments”) in vacation and incentive time for 2014 and 2015

on behalf of Argon Credit.

       128.   No other Argon Credit employees received any payment for purported incentive

time during that same payroll period.




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   H. Argon Credit’s Financial Condition

        129.   Argon Credit’s books and records reflect that it was insolvent at all times relevant

to this Complaint.

        130.   Argon Credit’s tax return for the calendar year ending December 31, 2014 states

that it had total operating income of only $136,834, yet it took on $365,000 in purported debt to

Margon under the First Margon Loan during that same time period.

        131.   Specifically, Argon Credit’s internal balance sheet reflects that as of January 31,

2015, Argon Credit’s assets totaled $2,099,819.62 and its liabilities totaled $2,108,460.65,

resulting in negative equity of $8,641.03.

        132.   From that point forward, Argon Credit’s financial condition deteriorated each

month that it continued to operate and its negative equity balance increased each month.

        133.   An independent accountant’s review of Argon Credit’s finances reflected that as

of December 31, 2015, Argon Credit had negative equity of $11,285,946.

        134.   That same accountant’s review stated that Argon Credit had suffered recurring

losses from operations, including a net loss of $11,208,708 for the year ended December 31,

2015.

        135.   As of November 30, 2016, Argon Credit’s internal balance sheet reflects assets of

$47,946,047.81 and liabilities of $55,108,733.32, resulting in negative $7,162,685.51 in equity.

   I. Debtors’ Bankruptcy Filings

        136.   On December 16, 2016 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.

        137.   On January 11, 2017, the Debtors’ bankruptcy cases were converted from cases

under chapter 11 to cases under chapter 7.



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       138.    The Trustee was appointed as interim chapter 7 trustee on April 17, 2017 and

confirmed by the Court on July 6, 2017.

                                            COUNT I

   (Breach of Fiduciary Duty Against Wolfe, Zumski, Ferro, Arakelian, Schnosenberg,
   Tomaszkiewicz, Madanyan, Canfora, Triffler, Kulhman, Breitweiser, and Faermark)

       139.    The Trustee repeats, realleges, and incorporates paragraphs 1 through 138 of the

Complaint as if fully set forth herein.

       140.    At all times relevant to this Complaint, as applicable to each, Wolfe, Zumski,

Ferro, Arakelian, Schnosenberg, Tomaszkiewicz, Madanyan, Canfora, Triffler, Kulhman,

Breitweiser, and Faermark owed fiduciary duties of care and loyalty to Argon Credit because

they were officers or members of Argon Credit’s board of managers.

       141.    Specifically, Wolfe breached his fiduciary duty of loyalty by engaging in, among

other things, one or more of the following acts:

                   1. Authorizing Argon Credit to enter into the series of transactions with
                      Spartan pursuant to which Argon Credit sold approximately $4.7 million
                      of its consumer loans to or for the benefit of companies in which, on
                      information and belief, Wolfe had a personal financial interest given that
                      he guaranteed FTAM’s loan with Hamilton;

                   2. Authorizing Argon Credit to pay $381,000 to Bergarviv in purported
                      commissions which personally benefitted Wolfe and which were not
                      disclosed to or authorized by Argon Credit’s board of managers;

                   3. Authorizing Argon Credit to pay himself $57,992.30 for purported
                      vacation time and 2014 and 2015 “incentive time” on the eve of Argon
                      Credit’s bankruptcy filing; and

                   4. Authorizing Argon Credit to pay for his personal expenses which did not
                      benefit Argon Credit, including tires for his vehicle, food and
                      entertainment, the Catalyst Lease, and the Las Vegas Trip.




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       142.    Zumski breached his fiduciary duty of loyalty by authorizing Argon Credit to pay

himself $31,664.80 for purported vacation time and 2014 and 2015 “incentive time” on the eve

of Argon Credit’s bankruptcy filing.

       143.    Arakelian breached his fiduciary duty of loyalty by among other things,

authorizing Argon Credit to pay $381,000 to Bergarviv in purported commissions which

personally benefitted Arakelian and which were not disclosed to or authorized by Argon Credit’s

board of managers.

       144.    Tomaszkiewicz breached his fiduciary duty of loyalty by entering into an

arrangement with Argon Credit on behalf of his company, Blue Treble, to pay himself more than

$214,000 for supposed software development services at a time Tomaszkiewicz was already

employed by Argon Credit and receiving a salary and which fees were exorbitant in relation to

the purported services provided.

       145.    In taking these actions, Wolfe, Zumski, Arakelian, Tomaszkiewicz did not place

the best interests of Argon Credit over other interests. Instead, they authorized transactions on

which they appeared on both sides and took actions that benefitted themselves personally at the

expense of Argon Credit.

       146.    Wolfe also breached his fiduciary duty of care by engaging in, among other

things, one or more of the following acts:

                   1. Authorizing Argon Credit to enter into the series of transactions with
                      Spartan pursuant to which Argon Credit sold approximately $4.7 million
                      of its consumer loans for which Argon Credit did not receive reasonably
                      equivalent value;

                   2. Causing Argon Credit to double-pledge certain consumer loans to
                      Princeton which were actually sold to FTAM, thereby causing Argon
                      Credit to be in breach of the Fintech Loan Agreement;




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                  3. Causing Argon Credit to submit false financial information to Princeton
                     which improperly inflated the amount of Argon Credit’s accounts
                     receivables, caused Argon Credit to borrow more funds from Princeton
                     than it was permitted to borrow under the relevant loan agreements, and
                     caused Argon Credit to be in breach of the relevant loan agreements;

                  4. Causing Argon Credit to enter into the Broadmark Agreement and pay
                     more than $700,000 to Broadmark and Peraza for commissions which
                     were exorbitant, above market rate, and for which Argon Credit did not
                     receive reasonably equivalent value; and

                  5. Causing Argon Credit to pay millions of dollars to Margon, Little Owl,
                     Triffler Trust, and Cardinal Trust which were, in reality, equity
                     distributions to members at a time when Argon Credit was insolvent.

       147.   Triffler, Kuhlman, Canfora, and Zumski, breached their fiduciary duties of care

by engaging in, among other things, one or more of the following acts:

                  1. Authorizing Argon Credit to enter into the series of transactions with
                     Spartan pursuant to which Argon Credit sold approximately $4.7 million
                     of its consumer loans for which Argon Credit did not receive reasonably
                     equivalent value;

                  2. Causing Argon Credit to double-pledge certain consumer loans to
                     Princeton which were actually sold to FTAM which caused Argon Credit
                     to be in breach of the Fintech Loan Agreement;

                  3. Causing Argon Credit to submit false financial information or failing to
                     correct such information submitted to Princeton, which improperly
                     inflated the amount of Argon Credit’s accounts receivables, caused Argon
                     Credit to borrow more debt from Princeton than it was permitted to
                     borrow under the relevant loan agreements, and caused Argon Credit to be
                     in breach of the relevant loan agreements;

                  4. Causing Argon Credit to enter into the Broadmark Agreement and pay
                     more than $700,000 to Broadmark and Peraza for commissions which
                     were exorbitant, above market rate, and for which Argon Credit did not
                     receive reasonably equivalent value; and

                  5. Causing Argon Credit to pay millions of dollars to Margon, Little Owl,
                     Triffler Trust, and Cardinal Trust which were, in reality, equity
                     distributions to members at a time when Argon Credit was insolvent.




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       148.    Breitweiser, Faermark, Schnosenberg, and Ferro breached their fiduciary duties of

care by among other things, causing Argon Credit to submit false financial information or failing

to correct such information submitted to Princeton, which improperly inflated the amount of

Argon Credit’s accounts receivables, caused Argon Credit to borrow more funds from Princeton

than it was permitted to borrow under the relevant loan agreements, and caused Argon Credit to

be in breach of the relevant loan agreements.

       149.    In taking these actions, the Individual Defendants were grossly negligent because

they caused Argon Credit to incur more debt to Princeton than it was entitled to borrow with

insufficient assets to collateralize such loan, cause Argon Credit to breach its loan agreements

with Princeton, and make millions of dollars in equity distributions and pay above market rate

for alleged services while Argon Credit was insolvent.

       150.    These breaches of fiduciary duty of loyalty and care caused damages to Argon

Credit and its creditors in an amount to be determined at trial.

                                            COUNT II

           (Aiding and Abetting Breach of Fiduciary Duty Against Barry Kostiner)

       151.    The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

       152.    At all times relevant to this Complaint, Wolfe owed fiduciary duties of loyalty

and care to Argon Credit because he was an officer and a member of Argon Credit’s board of

members.

       153.    Wolfe repeatedly breached his fiduciary duties of loyalty by authorizing Argon

Credit to enter into the series of transactions with Spartan pursuant to which Argon Credit sold

approximately $4.7 million of its consumer loans to or for the benefit of companies in which, on



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information and belief, Wolfe had a personal financial interest given that he guaranteed FTAM’s

loan with Hamilton.

       154.    Wolfe also breached his fiduciary duties of care by engaging in, among other

things, one or more of the following acts:

                   1. Authorizing Argon Credit to enter into the series of transactions with
                      Spartan pursuant to which Argon Credit sold approximately $4.7 million
                      of its consumer loans for which Argon Credit did not receive reasonably
                      equivalent value;

                   2. Causing Argon Credit to double-pledge certain consumer loans to
                      Princeton which were actually sold to FTAM which caused Argon Credit
                      to be in breach of the Fintech Loan Agreement; and

                   3. Causing Argon Credit to submit false financial information to Princeton
                      which improperly inflated the amount of Argon Credit’s accounts
                      receivables, caused Argon Credit to borrow more debt from Princeton than
                      it was permitted to borrow under the relevant loan agreements, and caused
                      Argon Credit to be in breach of the relevant loan agreements.

       155.    Kostiner knowingly participated with Wolfe to perform each of the acts described

above, including causing the Spartan entities to be incorporated, causing Spartan to execute the

series of documents pursuant to which Argon Credit’s consumer loans were sold to FTAM,

causing Spartan to pay Argon Credit less than reasonably equivalent value in exchange for the

consumer loans, and causing Spartan not to pay any servicing fees due and owing to Argon

Credit of more than $700,000.

       156.    While acting as a consultant for Argon Credit, Kostiner assisted Wolfe in

breaching his fiduciary to argon Credit by arranging for Spartan to purchase consumer loans

from Argon Credit without paying reasonably equivalent value in exchange for the consumer

loans, having Argon Credit first acquire loans on its balance sheet and in its portfolio before

assigning such loans to Spartan, executing a Memorandum of Understanding on or about July 2,

2015, which acknowledged that Spartan was funded from Argon Credit’s balance sheet,


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requesting and, upon information and belief, receiving copies of Argon Credit’s financial

statements while he was operating Spartan, and requesting and receiving notification of

incoming wires to Argon Credit from Schnosenberg.

            157.   Kostiner set up the Spartan entities while he worked for Argon Credit and used an

Argon Credit e-mail address for Spartan’s business transactions.

            158.   Wolfe and Kostiner’s actions caused significant harm to Argon Credit because it

caused Argon Credit to incur more debt to Princeton than it was entitled to borrow with

insufficient assets to collateralize such loan, caused Argon Credit to breach its loan agreements

with Princeton, and ultimately funneled millions in assets away from Argon Credit without

Argon Credit receiving equivalent value in exchange.

            159.   Kostiner’s actions caused damages to Argon Credit in an amount to be determined

at trial.

                                             COUNT III

                           (Avoidance of Preference Period Transfers
                      Pursuant to 11 U.S.C. § 547 Against Wolfe and Zumski)

            160.   The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

            161.   During the (90) day period prior to the Petition Date, Argon Credit made the

Zumski Incentive Payments and Wolfe Incentive Payments (collectively, the “Incentive

Payments”) to Zumski and Wolfe, respectively

            162.   Each Incentive Payment constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name which was transferred to

Argon Credit’s payroll processor with the specific direction to transfer those funds to Zumski

and Wolfe in the amount of the Incentive Payments.


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       163.     Each of the Incentive Payments was a transfer to, or for the benefit of, the Zumski

and Wolfe because each Incentive Payment either reduced or fully satisfied a debt then owed by

Argon Credit to Zumski and Wolfe for vacation and incentive time owed to them.

       164.     Each Incentive Payment was made for, or on account of, an antecedent debt owed

by Argon Credit to Zumski and Wolfe before such Incentive Payments were made.

       165.     Based on Argon Credit’s books and records and negative equity balance since at

least January 31, 2015, each Incentive Payment was made while Argon Credit was insolvent.

       166.     Furthermore, pursuant to section 547(f) of the Bankruptcy Code, Argon Credit is

presumed to have been insolvent during the 90 days prior to the Petition Date and is therefore

presumed to have been insolvent on the date of the Incentive Payments.

       167.     Each Incentive Payment was made on or within 90 days prior to the Petition Date.

       168.     Each Incentive Payment enabled Zumski and Wolfe to receive more than they

would receive if:

                    1. Argon Credit’s case were a case under chapter 7 of the Bankruptcy Code;

                    2. such Incentive Payments had not been made; and

                    3. Zumski and Wolfe received payment of such debts to the extent provided
                       by the provisions of the Bankruptcy Code.

       169.     By reason of the foregoing, the Trustee may avoid the Incentive Payments as

preferential transfers pursuant to section 547(b) of the Bankruptcy Code.

                                           COUNT IV

              (In the Alternative to Count III, Avoidance of Fraudulent Transfers
                Pursuant to 11 U.S.C. § 548(a)(1)(B) Against Wolfe and Zumski)

       170.     The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.



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        171.   Argon Credit made the Zumski Incentive Payments and Wolfe Incentive

Payments (collectively, the “Incentive Payments”) to Zumski and Wolfe, respectively.

        172.   Each Incentive Payment constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name which was transferred to

Argon Credit’s payroll processor with the specific direction to transfer those funds to Zumski

and Wolfe in the amount of the Incentive Payments.

        173.   Each Incentive Payment was made within the two years prior to the Petition Date.

        174.   To the extent that the Incentive Payments were not made on account of antecedent

debts owed by Argon Credit to Wolfe and Zumski, Argon Credit did not receive reasonably

equivalent value in exchange for the Incentive Payments.

        175.   Argon Credit’s liabilities exceeded its assets at the time of each of the Incentive

Payment, including negative balance sheet equity beginning in January 2015 and continuing

through the Petition Date.

        176.   Accordingly, on the date each Incentive Payment was made, Argon Credit:

                  i.   was insolvent or became insolvent as a result of the Incentive Payments;

                 ii.   was engaged in business or a transaction, or was about to engage in

                       business or a transaction, for which any property remaining with Argon

                       Credit was unreasonably small capital; or

                iii.   intended to incur, or believed it would incur, debts that would be beyond

                       Argon Credit’s ability to pay as such debts matured.

        177.   For these reasons, the Trustee may avoid the Incentive Payments as fraudulent

under 11 U.S.C. § 548(a)(1)(B).




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                                          COUNT V

                          (Avoidance of Preference Period Transfers
                        Pursuant to 11 U.S.C. § 547 Against Arakelian)

        178.   The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

        179.   During the ninety days prior to the Petition Date, Argon Credit made two

payments totaling $15,000 (the “Arakelian Payments”) to Arakelian consisting of a wire transfer

in the amount of $7,500 on November 4, 2016 and a wire transfer in the amount of $7,500 on

December 1, 2016.

        180.   Each Arakelian Payment constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name.

        181.   Each of the Arakelian Payments was a transfer to, or for the benefit of, Arakelian

because each Arakelian Payment either reduced or fully satisfied a debt then owed by Argon

Credit to Arakelian on account of a promissory note.

        182.   Each Arakelian Payment was made for, or on account of, an antecedent debt owed

by Argon Credit to Arakelian before such Arakelian Payment was made.

        183.   Based on Argon Credit’s books and records and negative equity balance since at

least January 31, 2015, each Arakelian Payment was made while Argon Credit was insolvent.

        184.   Furthermore, pursuant to section 547(f) of the Bankruptcy Code, Argon Credit is

presumed to have been insolvent during the 90 days prior to the Petition Date and is therefore

presumed to have been insolvent on the dates of the Arakelian Payments.

        185.   Each Arakelian Payment was made on or within 90 days prior to the Petition

Date.




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        186.    Each Arakelian Payment enabled Arakelian to receive more than he would

receive if:

                    1. Argon Credit’s case were a case under chapter 7 of the Bankruptcy Code;

                    2. such Arakelian Payments had not been made; and

                    3. Arakelian received payment of such debts to the extent provided by the
                       provisions of the Bankruptcy Code.

        187.    By reason of the foregoing, the Trustee may avoid the Arakelian Payments as

preferential transfers pursuant to section 547(b) of the Bankruptcy Code.

                                           COUNT VI

               (In the Alternative to Count V, Avoidance of Fraudulent Transfers
                        Under 11 U.S.C. §548(a)(1)(B) Against Arakelian)

        188.    The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

        189.    During the ninety days prior to the Petition Date, Argon Credit made two

payments totaling $15,000 (the “Arakelian Payments”) to Arakelian consisting of a wire transfer

in the amount of $7,500 on November 4, 2016 and a wire transfer in the amount of $7,500 on

December 1, 2016.

        190.    Each Arakelian Payment constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name.

        191.    Each Arakelian Payment was made within the two years prior to the Petition Date.

        192.    To the extent that the Arakelian Payments were not made on account of

antecedent debts owed by Argon Credit to Arakelian, Argon Credit did not receive reasonably

equivalent value in exchange for the Arakelian Payments.




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        193.   Argon Credit’s liabilities exceeded its assets at the time of each of the Arakelian

Payments, including negative balance sheet equity beginning in January 2015 and continuing

through the Petition Date.

        194.   Accordingly, on the date each Arakelian Payment was made, Argon Credit:

                  i.   was insolvent or became insolvent as a result of the Arakelian Payment;

                 ii.   was engaged in business or a transaction, or was about to engage in

                       business or a transaction, for which any property remaining with Argon

                       Credit was unreasonably small capital; or

                iii.   intended to incur, or believed it would incur, debts that would be beyond

                       Argon Credit’s ability to pay as such debts matured.

        195.   For these reasons, the Trustee may avoid the Arakelian Payments as fraudulent

under 11 U.S.C. § 548(a)(1)(B).

                                          COUNT VII

   (Avoidance of Fraudulent Transfers Under 11 U.S.C. §548(a)(1)(B) Against Bergarviv)

        196.   The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

        197.   Each Bergarviv Transfer constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name.

        198.   Each Bergarviv Transfer was made within the two years prior to the Petition Date.

        199.   On information and belief, each Bergarviv Transfer was not made on account of

an antecedent debt owed by Argon Credit to Bergarviv because transfers were made on account

of purported commissions owed in connection with the Princeton loan which were not disclosed

to or authorized by Argon Credit’s board of managers.



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        200.   Additionally, Argon Credit did not receive reasonably equivalent value in

exchange for the Bergarviv Transfers because B Money and Noax were already equity owners of

Argon Credit and Raviv Wolfe received a salary from Argon Credit of approximately $116,000

between November 2014 and October 2015.

        201.   Furthermore, Argon Credit paid more than $500,000 to or for the benefit of

Broadmark and Peraza, representing purported commissions owed in connection with the same

Princeton loan.

        202.   These commissions were not authorized by Argon Credit’s board of managers or

disclosed to Princeton and were substantially above market for any commissions which would be

properly owed.

        203.   Argon Credit’s liabilities exceeded its assets at the time of each of the Bergarviv

Transfers, including negative balance sheet equity beginning in January 2015 and continuing

through the Petition Date.

        204.   Accordingly, on the date each Bergarviv Transfer was made, Argon Credit:

                    i.   was insolvent or became insolvent as a result of the Bergarviv Transfers;

                   ii.   was engaged in business or a transaction, or was about to engage in

                         business or a transaction, for which any property remaining with Argon

                         Credit was unreasonably small capital; or

                  iii.   intended to incur, or believed it would incur, debts that would be beyond

                         Argon Credit’s ability to pay as such debts matured.

        205.   For these reasons, the Trustee may avoid the Bergarviv Transfers as fraudulent

under 11 U.S.C. § 548(a)(1)(B).




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                                            COUNT VIII

     (Avoidance of Preferential Transfers to Blue Treble Pursuant to 11 U.S.C. § 547(b))

        206.    The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

        207.    During the one year prior to the Petition Date, the Debtors continued to operate

their business affairs, including the transfer of property, either by checks, cashier checks, wire

transfers, direct deposit or otherwise to certain entities, including Blue Treble.

        208.    During the one year prior to the Petition Date, Argon Credit made the Blue Treble

One Year Payments to Blue Treble.

        209.    Upon information and belief, Blue Treble was a creditor, within the meaning of

section 101(10)(A) of the Bankruptcy Code, of Argon Credit at the time of each of the Blue

Treble One Year Payments.

        210.    Each Blue Treble One Year Payment constituted a transfer of an interest of Argon

Credit in property; namely, cash from a deposit account in Argon Credit’s name.

        211.    Each of the Blue Treble One Year Payments was a transfer to, or for the benefit

of, Blue Treble because each Blue Treble One Year Payment either reduced or fully satisfied a

debt then owed by Argon Credit to Blue Treble.

        212.    Upon information and belief, each Blue Treble One Year Payment was made for,

or on account of, an antecedent debt owed by Argon Credit to Blue Treble before such transfers

were made.

        213.    Argon Credit’s liabilities exceeded its assets at the time of each of the Blue Treble

One Year Payments.




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        214.     Specifically, Argon Credit’s balance sheet ending January 31, 2016 reflects assets

of $35,965,479.62 and liabilities of $44,194,338.59, resulting in negative $8,228,858.97 in equity

and the balance sheet ending November 30, 2016 reflects assets of $47,946,047.81 and liabilities

of $55,108,733.32, resulting in negative $7,162,685.51 in equity.

        215.     Accordingly, each Blue Treble One Year Payments was made while Argon Credit

was insolvent.

        216.     At all times relevant to the Complaint, Blue Treble was an insider of Argon Credit

because, on information and belief, Blue Treble was owned and/or controlled by Tomaszkiewicz

who was Argon Credit’s vice president of technology and business development and had the

ability to direct Argon Credit’s assets.

        217.     Furthermore, on information and belief, the checks issued to Blue Treble were

mailed to Tomaszkiewicz’s home address and, effectively, Blue Treble and Tomaszkiewicz are

one and the same.

        218.     Each Blue Treble One Year Payment was made on or within one year prior to the

Petition Date.

        219.     Each Blue Treble One Year Payment enabled Blue Treble to receive more than it

would receive if:

                    1. Argon Credit’s case were a case under chapter 7 of the Bankruptcy Code;

                    2. such Blue Treble One Year Payment had not been made; and

                    3. the Blue Treble received payment of such debt to the extent provided by
                       the provisions of the Bankruptcy Code.

        220.     By reason of the foregoing, the Trustee may avoid the Blue Treble One Year

Payments as preferential transfers pursuant to section 547(b) of the Bankruptcy Code.




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                                             COUNT IX

                   (In the Alternative to Count VIII, Avoidance of Fraudulent
                            Transfers Under 11 U.S.C. §548(a)(1)(B))

          221.   The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

          222.   Each Blue Treble Two Year Payment constituted a transfer of an interest of

Argon Credit in property; namely, cash from a deposit account in Argon Credit’s name.

          223.   Each Blue Treble Two Year Payment was made within the two years prior to the

Petition Date.

          224.   To the extent any of the Blue Treble Two Year Payments were not made on

account of an antecedent debt owed by Argon Credit, Argon Credit did not receive reasonably

equivalent value in exchange for the transfers.

          225.   Argon Credit’s liabilities exceeded its assets at the time of each of the Blue Treble

Two Year Payments, including negative balance sheet equity beginning in January 2015 and

continuing through the Petition Date.

          226.   Accordingly, on the date each Blue Treble Two Year Payment was made, Argon

Credit:

                    1. was insolvent or became insolvent as a result of the Blue Treble Two Year
                       Payment;

                    2. was engaged in business or a transaction, or was about to engage in
                       business or a transaction, for which any property remaining with Argon
                       Credit was unreasonably small capital; or

                    3. intended to incur, or believed it would incur, debts that would be beyond
                       Argon Credit’s ability to pay as such debts matured.




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        227.   For these reasons and to the extent any of the Blue Treble Two Year Payments

were not made on account of an antecedent debt owed by Argon Credit, the Trustee may avoid

the Blue Treble Two Year Payments as fraudulent under 11 U.S.C. § 548(a)(1)(B).

                                            COUNT X

    (Avoidance of Fraudulent Obligations and Transfers Under 11 U.S.C. § 548(a)(1)(B)
                            Against Broadmark and Peraza)

        228.   The Trustee repeats and re-alleges the allegations of paragraphs 1 through 138 as

though fully set forth herein.

        229.   Each Broadmark Transfer constituted a transfer of an interest of Argon Credit in

property; namely, cash from a deposit account in Argon Credit’s name.

        230.   Each Broadmark Transfer was made within the two years prior to the Petition

Date.

        231.   Each Broadmark Transfer was made to or for Broadmark’s benefit.

        232.   Argon Credit did not receive reasonably equivalent value in exchange for

incurring the obligations under the Broadmark Agreement or for making the Broadmark

Transfers because the parties entered into the Broadmark Agreement just days prior to the

closing of the Fintech Loan Agreement, a time when the vast majority of the work performed to

effectuate the transaction had already been done.

        233.   Furthermore, the commissions to be paid to Broadmark under the Broadmark

Agreement were exorbitant in light of market rates, the effort required, and the fact that certain

of Argon Credit’s officers, including Wolfe, already had responsibility for identifying borrowing

opportunities and equity raising opportunities and were paid a salary for their efforts.

        234.   Similarly, each Peraza Transfer constituted a transfer of an interest of Argon

Credit in property; namely, cash from a deposit account in Argon Credit’s name.


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        235.   Each Peraza Transfer was made within the two years prior to the Petition Date.

        236.   Each Peraza Transfer was made to or for Peraza’s benefit.

        237.   Argon Credit did not receive reasonably equivalent value in exchange for the

Peraza Transfers because: (i) Argon Credit did not owe any debt to Peraza and had no legal

obligation to make the Peraza Transfers to Peraza, and (ii) for the reasons stated above, any

commissions purportedly owed in connection with the Princeton loan, equity raises, or SSF sale

were exorbitant, did not represent market value for the services provided, and Argon Credit’s

officers already had responsibility for identifying borrowing and equity raising opportunities.

        238.   Argon Credit’s liabilities exceeded its assets at the time of each of the Broadmark

Transfers and Peraza Transfers (collectively, the “Commission Payments”), including negative

balance sheet equity beginning in January 2015 and continuing through the Petition Date.

        239.   Accordingly, on the date each Commission Payments were made and the

obligations under the Broadmark Agreement incurred, Argon Credit:

                   1. was insolvent or became insolvent as a result of the Commission

                      Payments and obligations under the Broadmark Agreement;

                   2. was engaged in business or a transaction, or was about to engage in

                      business or a transaction, for which any property remaining with Argon

                      Credit was unreasonably small capital; or

                   3. intended to incur, or believed it would incur, debts that would be beyond

                      Argon Credit’s ability to pay as such debts matured.

        240.   For these reasons, the Trustee may avoid the Commission Payments and

obligations under the Broadmark Agreement as fraudulent under 11 U.S.C. § 548(a)(1)(B).




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                                               COUNT XI

                (Recovery of Avoidable Transfers Pursuant to 11 U.S.C. § 550)

        241.    The Trustee repeats and re-alleges the allegations of paragraphs 1 through 240 as

though fully set forth herein.

        242.    Wolfe was either: (a) the initial transferee of the Wolfe Incentive Payments, (b)

the entity for whose benefit the Wolfe Incentive Payments were made or (c) an immediate or

mediate transferee of an initial transferee.

        243.    Zumski was either: (a) the initial transferee of the Zumski Incentive Payments, (b)

the entity for whose benefit the Zumski Incentive Payments were made or (c) an immediate or

mediate transferee of an initial transferee.

        244.    Arakelian was either: (a) the initial transferee of the Arakelian Payments, (b) the

entity for whose benefit the Arakelian Payments were made or (c) an immediate or mediate

transferee of an initial transferee.

        245.    Bergarviv was either: (a) the initial transferee of the Bergarviv Transfers, (b) the

entity for whose benefit the Bergarviv Transfers were made or (c) an immediate or mediate

transferee of an initial transferee.

        246.    Blue Treble was either (a) the initial transferee of the Blue Treble Payments, (b)

the entity for whose benefit the Blue Treble Payments were made or (c) an immediate or mediate

transferee of an initial transferee.

        247.    Broadmark was either (a) the initial transferee of the Broadmark Transfers, (b) the

entity for whose benefit the Broadmark Transfers were made or (c) an immediate or mediate

transferee of an initial transferee.




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       248.    Peraza (together with Wolfe, Zumski, Arakelian, Bergarviv, Blue Treble, and

Broadmark, the “Transferee Defendants”) was either (a) the initial transferee of the Peraza

Transfers (together with the Wolfe Incentive Payments, Zumski Incentive Payments, Arakelian

Payments, Bergaviv Transfers, Blue Treble Payments, and Broadmark Transfers, the

“Challenged Transfers”), (b) the entity for whose benefit the Peraza Transfers were made or (c)

an immediate or mediate transferee of an initial transferee.

       249.    To the extent that the Challenged Transfers are avoided pursuant to sections 547

or 548 of the Bankruptcy Code, the Trustee may recover the Challenged Transfers, or their value,

from the applicable Transferee Defendants or any mediate or immediate transferee pursuant to

section 550 of the Bankruptcy Code.

       250.    By reason of the foregoing, the Trustee may recover the Challenged Transfers or

the value thereof from the applicable Transferee Defendants pursuant to section 550 of the

Bankruptcy Code.

                                        COUNT XII
                   (Disallowance of Claims Pursuant to 11 U.S.C. § 502(d))

       251.    The Trustee repeats and re-alleges the allegations of paragraphs 1 through 250 as

though fully set forth herein.

       252.    Section 502(d) of the Bankruptcy Code provides, in relevant part, that the claim

of any entity or transferee receiving a payment that is avoidable under sections 547 or 548 of the

Bankruptcy Code shall be disallowed unless the entity or transferee turns over the payment or

value of the payment.

       253.    The Transferee Defendants are the transferee of the Challenged Transfers.

       254.    The Transferee Defendants have either filed proofs of claims against the Debtors,

may have claims against the Debtors, or may assert claims against the Debtors in the future.


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       255.    The Transferee Defendants have neither paid nor surrendered the Challenged

Transfers, or the value thereof, to Argon Credit’s estate.

       256.    The Trustee objects to any and all claims of the Transferee Defendants, including

without limitation, all pre-petition and post-petition claims pursuant to section 502(d) of the

Bankruptcy Code.

       257.    By reason of the foregoing, any claim which the Transferee Defendants have filed

must be disallowed pursuant to section 502(d) of the Bankruptcy Code until the Challenged

Transfers, or the value thereof are returned to the Argon Credit’s estate.

       WHEREFORE, the Trustee requests the entry of a judgment against the Defendants

granting the following relief:


       (a) As to Count I, finding that: (i) Wolfe, Zumski, Arakelian, and Tomaszkiewicz are

           liable for breach of fiduciary duty of loyalty owed to Argon Credit and its creditors

           and awarding damages to the Trustee in an amount to be determined at trial; and (ii)

           the Individual Defendants are liable for breach of fiduciary duty of care owed to

           Argon Credit and its creditors and awarding damages to the Trustee in an amount to

           be determined at trial;

       (b) As to Count II, entering judgment in favor of the Trustee and against Kostiner for

           aiding and abetting breaches of fiduciary duty owed to Argon Credit in an amount to

           be determined at trial;

       (c) As to Count III, avoiding the Incentive Payments pursuant to section 547 of the

           Bankruptcy Code as follows: (i) as to Wolfe, avoiding the Wolfe Incentive Payments

           in the amount of $57,992.30, and (ii) as to Zumski, avoiding the Zumski Incentive

           Payments in the amount of $31,664.80;

       (d) As to Count IV, in the alternative to Count III, avoiding the Incentive Payments

           pursuant to section 548 of the Bankruptcy Code as follows: (i) as to Wolfe, avoiding

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       the Wolfe Incentive Payments in the amount of $57,992.30, and (ii) as to Zumski,

       avoiding the Zumski Incentive Payments in the amount of $31,664.80;

    (e) As to Count V, avoiding the Arakelian Payments pursuant to section 547 of the

       Bankruptcy Code in the amount of $15,000.00;

    (f) As to Count VI, in the alternative to Count V, avoiding the Arakelian Payments

       pursuant to section 548 of the Bankruptcy Code in the amount of $15,000.00;

    (g) As to Count VII, avoiding the Bergarviv Transfers pursuant to section 548 of the

       Bankruptcy Code in the amount of $381,000;

    (h) As to Count VIII, avoiding the Blue Treble One Year Payments pursuant to section

       547 of the Bankruptcy Code in the amount of $52,643;

    (i) As to Count IX, in the alternative to Count VIII, avoiding the Blue Treble Two Year

       Payments pursuant to section 548 of the Bankruptcy Code in the amount of

       $214,050.28;

    (j) As to Count X, avoiding the Commission Payments pursuant to section 548 of the

       Bankruptcy Code as follows: (i) as to Broadmark, avoiding the Broadmark Transfers

       in the amount of $528,333.33, and (ii) as to Peraza, avoiding the Peraza Transfers in

       the amount of $248,791.67;

    (k) As to Count XI, ordering the Transferee Defendants to return the Challenged

       Transfers, as applicable, or their value to the Argon Credit’s estate pursuant to section

       550 of the Bankruptcy Code;

    (l) As to Count XII, disallowing any claims of the Transferee Defendants pursuant to

       section 502(d) of the Bankruptcy Code unless and until the amount of the Challenged

       Transfers, or their value, as applicable, are returned to Argon Credit’s estate;

    (m) Award the Trustee pre-judgment interest at the legally allowable rate;

    (n) Assess all fees and costs of this action against the Defendants; and

    (o) Grant such other and further relief as is just and proper.


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Dated: December 14, 2018            EUGENE CRANE, CHAPTER 7 TRUSTEE

                                    By: /s/ Shelly A. DeRousse
                                       One of His Attorneys

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